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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

 

FORT LAUDERDALE DIVISION

 

In Re: CHAPTER 13
Ralph Levi Sanders, Jr., CASE NO. 22-14766-SMG
Debtor.

MOTION FOR A 30-DAY EXTENSION OF CURRENT
DUE DATES FOR THE BENEFIT OF MY CREDITORS
AND MY 18 NEIGHBORS WHO HAVE THE SAME TITLE
TO LAND ISSUE FOR THE FOLLOWING REASONS

|

|
1. I did receive a response from Bilu Law firm today. Tuesday,
September 27, 2022, at 11: 00 AM. | think | got my

documents but no actos to MMM

 

2. When an attorney leave his position, whether, from a

corporation or an individ al representation, the lawyer has a
|

Ralph L. Sanders.

 
 

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to create no undue hardship to the client.

When the Bilu law firm informed me of their intention to
withdraw from my case, | asked for, in effect, my case paperwork, any
communication they have had with any parties related to my case,

what was the status of differe nt items, along an explanation of how

 

the amounts were derived or in the forms that were empty, what is
supposed to go into some of the blank fields.
| don’t even have access to my MMM or know what is in my
folder.
| have emailed the Bilu Law firm numerous times asking about
my documents, case file, and how | get access to my MMM.
Unfortunately, there have been zero responses from the Bilu Law

firm.

 

| did receive a responte from Bilu Law firm today. | think |
got my documents Tuesday, September 27, 2022, at 11:00 AM

“ All procedures and documents for the MMM are located on the Court's website. Any

login and password information for the “" portal and system that we are in possession of
|

Ralph L. Sanders

Plot

 

 
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belong to this office and are not unique !

portals and procedures and obtain a unique login and password for yourself. We will not be

providing you with our log-in and passwo d
correspondence, it is highly recommended

| have the following firms whose actions would benefit my creditors
in addition to the items directly related to the hearings that | am

asking for a 30-day exte nsion.

 

1. | retained a homeowner insurance litigation law firm with 24
attorneys and many “Pre-titigation legal assistants.” My lender
will benefit. My Homeowners Insurance company, Universal
Property and Casualty (UPC), is asking for damages that had

occurred and proof of repairs from the 2005 hurricane season.

2. Retained Attorney whos

property tax law. My cret

 

3. | am waiting for the pape

Revenue Service regard

{ have/am applying to Bankr

wanted in Craigslist, Thu

each file. You will need to register yourself for the MMM

Bn

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information. Additionally, as per our previous

that you seek out alternative bankruptcy counsel.”

practice area is real estate law and
itors and | will benefit.
rwork | requested from the Internal

ng the IRS lien.

'uptcy Law firms. | am putting help

mbtack, Broward Bar, and 7??? for

 

Ralph L. Sanders

Art

 
 

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legal help to maintain my Chapter 13 and help write up my

LMM. | even asked Roh Bilu Law Firm.

| can/will provide a list of law firms | have asked for

representation.
Is this supposed to be “Undue Hardship”?

Please Grant me a 30-day extension.
|

  

Ralph L. Yanders
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Plantation, Fl. 33317
Cell Phone 754.801.7097

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Ralph L. Sanders 4 ‘yf

 
